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Join us this Thursday at Trilogy for the
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Doors open at 11pm & we partying until
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Doors open at 11pm & the party doesn't stop
until 330am!!!

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